    Case 3:19-cr-00130-MHL Document 87-2 Filed 02/18/20 Page 1 of 8 PageID# 926



                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA


    UNITED STATES OF AMERICA,

                           Plaintiff,

                 v.

    MATTHEW WILLIAM SCHWIER,                      Case No. 3:17-cr-00095-SLG

                           Defendant.


    SUPPLEMENTAL ORDER REGARDING C-3 MOTION TO COMPEL
DISCOVERY AND PRODUCTION OF EVIDENCE: TORRENTIAL DOWNPOUR
                        SOFTWARE
         On October 24, 2019, after an evidentiary hearing, the Court entered an

order at Docket 231 that granted in part and denied in part Defendant Matthew

William Schwier’s C-3 Motion to Compel Discovery and Production of Evidence:

Torrential Downpour Software at Docket 199. The Court directed the government

to conduct certain validation testing of the Torrential Downpour software in the

presence of the defense.1               The October 24, 2019 order set out the factual

background relevant to this issue and it is not repeated here.2

         The Court’s October 24, 2019 order allowed the defense to file a

supplemental declaration of its expert to explain why it believed additional testing

was necessary, and the Court notified the parties that it may amend its order as


1   Docket 231 at 12–14.
2   See Docket 231 at 1–12.



       Case 3:17-cr-00095-SLG-DMS Document 243 Filed 11/08/19 Page 1 of 8
    Case 3:19-cr-00130-MHL Document 87-2 Filed 02/18/20 Page 2 of 8 PageID# 927



warranted in light of that declaration.3 On October 31, 2019, the defense timely

filed a supplemental ex parte declaration of Jeffrey M. Fischbach, offered as a

computer forensics expert.4 The defense filed a redacted copy of Mr. Fischbach’s

declaration on the same day, from which it had removed all information it claimed

as privileged.5

         On November 1, 2019, the government filed a motion responding to Mr.

Fischbach’s redacted declaration, asking the Court to either hold an immediate

status hearing or issue an order finding that the defense had not shown that

additional tests were material.6

         The Court granted the government’s motion and held a brief status

conference on November 4, 2019,7 after which the parties conducted validation

testing of the Torrential Downpour software pursuant to the Court’s October 24,

2019 order.8 The Court held a second status conference after the completion of

the validation process, on November 5, 2019, at which it notified the parties that it




3   Docket 231 at 12, 14.
4   Docket 233.
5   Docket 234.
6   Docket 235.
7   Docket 240.
8See Docket 231 at 12–13 (ordering government to conduct “the validation process
described at Docket 219-1”).

Case No. 3:17-cr-00095-SLG, United States v. Schwier
Supplemental Order Re: C-3 Motion to Compel Discovery and Production of Evidence
Page 2 of 8

       Case 3:17-cr-00095-SLG-DMS Document 243 Filed 11/08/19 Page 2 of 8
    Case 3:19-cr-00130-MHL Document 87-2 Filed 02/18/20 Page 3 of 8 PageID# 928



would issue a written order that would address whether additional testing would be

ordered in light of Mr. Fischbach’s October 31, 2019 declaration.

                                       DISCUSSION

         Pursuant to Federal Rule of Criminal Procedure 16(a)(1)(E)(i), the

government must disclose any “books, papers, documents, data . . . or copies or

portions” thereof upon the defendant’s request, provided that the item is in the

government’s control and is “material to preparing the defense.” “A defendant

must make a ‘threshold showing of materiality’ in order to compel discovery

pursuant” to this rule.9 “Neither a general description of the information sought nor

conclusory allegations of materiality suffice; a defendant must present facts which

would tend to show that the Government is in possession of information helpful to

the defense.”10

         In United States v. Budziak, the Ninth Circuit held that a district court had

erroneously denied the defense’s request for discovery of EP2P, a piece of

investigative software similar to Torrential Downpour.11 The Circuit concluded that

the defendant had demonstrated materiality by “identif[ying] specific defenses to




9United States v. Budziak, 697 F.3d 1105, 1111 (9th Cir. 2012) (citing United States v.
Santiago, 46 F.3d 885, 894 (9th Cir. 1995)).
10   Id. (quoting United States v. Mandel, 914 F.2d 1215, 1219 (9th Cir. 1990)).
11   Id. at 1111–12.

Case No. 3:17-cr-00095-SLG, United States v. Schwier
Supplemental Order Re: C-3 Motion to Compel Discovery and Production of Evidence
Page 3 of 8

        Case 3:17-cr-00095-SLG-DMS Document 243 Filed 11/08/19 Page 3 of 8
 Case 3:19-cr-00130-MHL Document 87-2 Filed 02/18/20 Page 4 of 8 PageID# 929



the distribution charge that discovery on the EP2P program could potentially help

him develop.”12 The Circuit cautioned:

         In cases where the defendant has demonstrated materiality, the
         district court should not merely defer to government assertions that
         discovery would be fruitless[,] . . . especially . . . where . . . a charge
         against the defendant is predicated largely on computer software
         functioning in the manner described by the government, and the
         government is the only party with access to that software.13

It explained that “[a] party seeking to impeach the reliability of computer evidence

should have sufficient opportunity to ascertain by pretrial discovery whether both

the machine and those who supply it with data input and information have

performed their tasks accurately.”14 In its October 24, 2019 order, the Court found

that the functionality, reliability, and accuracy of Torrential Downpour were material

to Mr. Schwier’s defense.15

         However, the government asserted that production of the software was

precluded by the law enforcement privilege recognized in Roviaro v. United States,




12 Id. at 1112. The defendant in Budziak “presented evidence suggesting that the FBI
may have only downloaded fragments of child pornography files from his ‘incomplete’
folder, making it ‘more likely’ that he did not knowingly distribute any complete child
pornography files to [federal] [a]gents.” Id. He also “submitted evidence suggesting
that the FBI agents could have used the EP2P software to override his sharing
settings.” Id.
13   Id. at 1112–13.
14   Id. at 12 (quoting United States v. Leibert, 519 F.2d 542, 547–48 (3rd Cir. 1975).
15   Docket 231 at 7–8.

Case No. 3:17-cr-00095-SLG, United States v. Schwier
Supplemental Order Re: C-3 Motion to Compel Discovery and Production of Evidence
Page 4 of 8

        Case 3:17-cr-00095-SLG-DMS Document 243 Filed 11/08/19 Page 4 of 8
 Case 3:19-cr-00130-MHL Document 87-2 Filed 02/18/20 Page 5 of 8 PageID# 930



353 U.S. 53 (1957).16          Balancing the government’s interest against the

defendant’s,17 the Court found in its October 24, 2019 order that based on the

record then before it, “the validation process proposed by the government [was]

sufficient to meet the defense’s needs.”18 The Court noted that Mr. Fischbach had

spoken only in generalities at the evidentiary hearing about why production of the

software for additional testing by him was necessary to the defense.19                Mr.

Fischbach claimed that the defense’s proposed testing ideas were confidential

attorney work product and subject to the attorney-client privilege.20 The Court

concluded that it could not “rule on the materiality of forensic tests that have not

been disclosed to it.”21

         In the ex parte portion of his subsequent October 31, 2019 declaration, Mr.

Fischbach described four additional tests of the Torrential Downpour software that




16   Docket 214 at 8–11.
17 See Roviaro, 353 U.S. at 62 (directing courts to balance public interest in protecting
flow of information to government against defendant’s right to prepare his case, “taking
into consideration the crime charged, the possible defenses, the possible significance of
the informer’s testimony, and other relevant factors”).
18   Docket 231 at 10–11.
19   Docket 231 at 11.
20 See, e.g., Docket 230 at 6:24–7:4 (Excerpt of October 18, 2019 Hearing Transcript)
(“[T]he findings that we have, and again, I’m being careful as far as privilege goes, the
findings that we have have demonstrated some oddities possibly, but, again, they have
to be tested to see if they are associated, but they certainly cause concern.”).
21   Docket 231 at 12.

Case No. 3:17-cr-00095-SLG, United States v. Schwier
Supplemental Order Re: C-3 Motion to Compel Discovery and Production of Evidence
Page 5 of 8

        Case 3:17-cr-00095-SLG-DMS Document 243 Filed 11/08/19 Page 5 of 8
 Case 3:19-cr-00130-MHL Document 87-2 Filed 02/18/20 Page 6 of 8 PageID# 931



he seeks to conduct at the Regional Computer Forensics Lab (“RCFL”) in

Anaheim, California.22 Mr. Fischbach explained that these four tests are necessary

to either develop or rule out specific defense strategies related to Counts 1 and 2

of the Third Superseding Indictment, both of which are premised on the FBI’s use

of the Torrential Downpour software.23

         In the redacted copy of Mr. Fischbach’s declaration, the entire description of

these four tests and their relevance to the defense are blacked out. 24            The

government argues that “[b]y redacting the tests themselves, the defense has

withheld from the government any opportunity to contest the tests, or to agree with

them.”25 The Court acknowledges the government’s concerns and recognizes that

in United States v. Gonzales, the defense disclosed the actual tests it wanted to

run on Torrential Downpour in a way that permitted the government to argue

against the testing.26 Nevertheless, the Court is prepared to balance the defense’s

need for the additional testing of Torrential Downpour against the government’s

interest in restricting further access to the software.



22   Docket 233-1 at 7–10, ¶ 23; Docket 234-1 at 7–10, ¶ 23 (redacted).
23Docket 233-1 at 7–10, 11 ¶¶ 23, 28; Docket 234-1 at 7–10, 11 ¶¶ 23, 28 (redacted);
see also Docket 231 at 4 (describing basis of counts in indictment).
24   Docket 234-1 at 7–10, ¶¶ 23, 28.
25   Docket 235 at 3.
26No. CR-17-01311-001-PHX-DGC, 2019 WL 4040531, at *4–7 (D. Ariz. Aug. 27, 2019)
(describing six tests and government’s objections to their materiality).

Case No. 3:17-cr-00095-SLG, United States v. Schwier
Supplemental Order Re: C-3 Motion to Compel Discovery and Production of Evidence
Page 6 of 8

        Case 3:17-cr-00095-SLG-DMS Document 243 Filed 11/08/19 Page 6 of 8
 Case 3:19-cr-00130-MHL Document 87-2 Filed 02/18/20 Page 7 of 8 PageID# 932



       Upon review of Mr. Fischbach’s October 31, 2019 declaration, the Court

concludes that requiring the Torrential Downpour software to be accessible to Mr.

Fischbach for the additional testing at the Anaheim RCFL is warranted. In reaching

this conclusion, the Court has considered that the government’s interest in

prosecuting Mr. Schwier for child pornography is not eviscerated by ordering the

software’s production. The government may opt to dismiss Counts 1 and 2; if it

does so, it is not required to further produce the Torrential Downpour software to

the defense. In that event, the government may still proceed on Count 3.27 The

Court also notes that the government would have the opportunity to assert that the

conduct alleged in Counts 1 and 2 constitutes relevant conduct for sentencing

purposes in the event Mr. Schwier is adjudged guilty on Count 3.

                                     CONCLUSION

       In light of the foregoing, the Court supplements its order at Docket 231 as

follows:

       (1) Within seven days of the date of this order, the government shall

make the Torrential Downpour software available to Mr. Fischbach and defense

counsel at the Regional Computer Forensics Lab in Anaheim, California, for a


27United States v. Gonzales, No. CR-17-01311-001-PHX-DGC, 2019 WL 669813, at *8
(D. Ariz. Feb. 19, 2019) (“When the two interests come squarely into conflict, the
defendant’s right to a fair trial should prevail because the government can always
choose to protect its investigative technique by dropping the prosecution and due
process dictates that a citizen should never be convicted in an unfair trial.” (citing United
States v. Turi, 143 F. Supp. 3d 916, 921 (D. Ariz. 2015))).

Case No. 3:17-cr-00095-SLG, United States v. Schwier
Supplemental Order Re: C-3 Motion to Compel Discovery and Production of Evidence
Page 7 of 8

     Case 3:17-cr-00095-SLG-DMS Document 243 Filed 11/08/19 Page 7 of 8
Case 3:19-cr-00130-MHL Document 87-2 Filed 02/18/20 Page 8 of 8 PageID# 933



period of 21 consecutive days for additional testing. This testing shall be limited

to the four tests described in Mr. Fischbach’s October 31, 2019 declaration.

      (2) The government may propose additional terms to the protective order

entered at Docket 231 as warranted.




      DATED this 8th day of November, 2019, at Anchorage, Alaska.

                                         /s/ Sharon L. Gleason
                                          UNITED STATES DISTRICT JUDGE




Case No. 3:17-cr-00095-SLG, United States v. Schwier
Supplemental Order Re: C-3 Motion to Compel Discovery and Production of Evidence
Page 8 of 8

     Case 3:17-cr-00095-SLG-DMS Document 243 Filed 11/08/19 Page 8 of 8
